             I N T H E DISTRICT COURT OF THE UNITED STATES
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:09 CR 26-9


UNITED STATES OF AMERICA,              )
                                       )
Vs.                                    )                      ORDER
                                       )
ANGELA OXENDINE.                       )
                                       )
______________________________________ )

      THIS CAUSE coming on to be heard and being heard before the undersigned

at the close of a Rule 11 proceeding that was held before this court on June 5, 2009.

It appearing to the court at the call of this matter on for hearing that the defendant was

present with her attorney, Frank A. Abrams and the government was present and

represented through Assistant United States Attorney Jill Rose. From the arguments

of counsel for the defendant and the arguments of the Assistant United States Attorney

and the records in this cause, the court makes the following findings:

      Findings.     On April 7, 2009 a bill of indictment was issued charging the

defendant with conspiracy to traffic in cocaine base, commonly known as crack

cocaine, in violation of Title 21 U.S.C. § 841(a)(1) and 846. On June 5, 2009, the

undersigned held an inquiry, pursuant to Rule 11 of the Federal Rules of Criminal

Procedure, and accepted a plea of guilty of the defendant to that charge. At the end

of the Rule 11 proceeding, this court presented the issue of whether or not the




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defendant should now be detained, pursuant to 18 U.S.C. § 3143(a)(2).

       Discussion.     18 U.S.C. § 3143(a)(2) provides as follows:

       (2) The judicial officer shall order that a person who has been found
       guilty of an offense in a case described in subparagraph (A), (B), or (C)
       of subsection (f)(1) of section 3142 and is awaiting imposition or
       execution of sentence be detained unless ----

             (A)(i) the judicial officer finds there is a substantial likelihood that
       a motion for acquittal or new trial will be granted; or

              (ii) an attorney for the Government has recommended that no
              sentence of imprisonment be imposed on the person; or

              (B) the judicial officer finds by clear and convincing evidence that
              the person is not likely to flee or pose a danger to any other person
              or the community.

       From an examination of the records in this cause, it appears that the defendant

has now entered a plea of guilty on June 5, 2009 to conspiracy to violate 21 U.S.C. §

841(a)(1). That crime is one of the crimes that is referenced under 18 U.S.C. §

3142(f)(1)(C). The undersigned has made an inquiry of Assistant United States

Attorney Jill Rose as to whether or not there was going to be a recommendation that

no sentence of imprisonment be imposed upon the defendant. Ms. Rose advised the

court that such a recommendation could not be made in this matter. The undersigned

cannot find there is a substantial likelihood that a motion for acquittal or new trial will

be granted in that the defendant has entered a plea of guilty. It would thus appear and



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the court is of the opinion that the court is required to apply the factors as set forth

under 18 U.S.C. § 3143(a)(2). The direction given in the statute is one mandatory in

nature. The statute provides as follows: “the judicial officer shall order...”. As a

result, the undersigned has no alternative other than to issue an order revoking the

terms and conditions of pretrial release of the defendant and ordering that the

defendant be detained.




                                       ORDER

      IT IS, THEREFORE, ORDERED, that the terms and conditions of pretrial

release in this matter are hereby REVOKED and it is ORDERED the defendant be

detained pending further proceedings in this matter.



                                           Signed: June 8, 2009




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